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 1                                                                               6/6/2019

 2                                                                               CW

 3
                             UNITED STATES DISTRICT COURT
 4
                            CENTRAL DISTRICT OF CALIFORNIA
 5

 6   UNITED STATES OF AMERICA,                       Case No. CR 18-891-DMG

 7                    Plaintiff,                     ORDER MODIFYING BOND
                                                     CONDITIONS
 8          v.

 9   ROBIN DIMAGGIO,

10                    Defendant.

11

12          IT IS HEREBY ORDERED that the electronic monitoring condition be modified to

13   remove the location monitoring anklet so that Defendant may work as a drummer for

14   Mike Fennel, provided that Defendant supplies to Pretrial Services a written employment

15   contract or agreement executed by Mr. Fennel guaranteeing at least 20 hours of such

16   drumming work per week; a written weekly schedule of the days and times Defendant

17   would be scheduled to do drumming work to be provided in advance to Pretrial Services

18   no later than one week before the start of the first scheduled work day of each week; and

19   written proof to be provided to Pretrial Services of the income or other monies paid to

20   Defendant by Mr. Fennel for scheduled drumming work actually performed. If Pretrial

21   Services determines that Defendant no longer needs or wants to perform regular and

22   consistent drumming work, it shall reinstall the location monitoring anklet without

23   further court order. Standard employment approval and verification conditions remain

24   in effect.

25          IT IS SO ORDERED.

26
     DATED: June 6, 2019                             ____________________
27                                                   STEVE KIM
                                                     U.S. MAGISTRATE JUDGE
28   cc: PSA
     Attachment: Modified Bond
